         Case 2:21-cv-01729-LMA Document 5 Filed 10/26/21 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

ROBBY JOHN LERILLE                                               CIVIL ACTION

VERSUS                                                           NUMBER: 21-1729

LAFOURCHE PARISH, ET AL                                          SECTION: “I”(5)


                                         ORDER

       The Court, having considered the complaint, the record, the applicable law, the

Magistrate Judge’s Report and Recommendation, and the failure of Plaintiff to file any

objections to the Magistrate Judge’s Report and Recommendation, hereby approves the

Magistrate Judge’s Report and Recommendation and adopts it as its opinion herein.

       Accordingly,

       IT IS ORDERED that Plaintiff’s suit is dismissed with prejudice pursuant to 28 U.S.C.

§1915(e)(2)(B)(i) and (ii).

       New Orleans, Louisiana, this 26th day of October, 2021.




                                                        LANCE M. AFRICK
                                                  UNITED STATES DISTRICT JUDGE
